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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 22-cv-20925-ALTMAN/Reid

  WALTER COLEMAN, et al.,

         Plaintiffs,

  v.

  BURGER KING CORPORATION,

        Defendant.
  _______________________________/

                           ORDER DENYING MOTION TO DISMISS

         Nineteen Plaintiffs—hailing from thirteen separate states—have brought this putative class

  action “against defendant Burger King Corporation [(“BKC”)], on behalf of themselves and all other

  similarly situated individuals who purchased a Burger King menu item based on false and misleading

  advertising concerning the size and/or the amount of ingredients contained in said menu item.”

  Second Amended Complaint (“SAC”) [ECF No. 69] ¶ 1. For the second time, BKC has moved to

  dismiss the SAC under FED. R. CIV. P. 12(b)(6). See Motion to Dismiss SAC (“MTD”) [ECF No. 70]. 1

  After careful review, we DENY BKC’s MTD.

                                               THE FACTS

         According to the Plaintiffs, BKC “began to materially overstate the size of its burgers in its

  advertisements in September 2017.” Id. ¶ 6. BKC, the Plaintiffs claim, “advertises its burgers as large

  burgers compared to competitors and containing oversized meat patties and ingredients that overflow

  over the bun to make it appear that the burgers are approximately 35% larger in size, and contain




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    The MTD has been fully briefed and is ripe for adjudication. See Opposition to BKC’s Motion to
  Dismiss SAC (“Response”) [ECF No. 73]; Reply Memorandum in Support of Motion to Dismiss SAC
  (“Reply”) [ECF No. 75].
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  more than double the meat, than the actual burger.” Id. ¶ 3. Despite the increased size of the burgers

  BKC featured in its post-2017 advertisements, the Plaintiffs allege that “the amount of [ingredients]

  contained in the actual [products] that customers receive did not increase.” Id. ¶ 9. To illustrate BKC’s

  “unfair and materially misleading advertising,” the Plaintiffs provide these side-by-side comparisons

  of actual BKC products to the advertisements BKC displayed online and in stores:




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  Id. ¶¶ 10, 12. And, to emphasize the differences between BKC’s advertisements and its products, much

  of the SAC reproduces negative reviews that were posted online by dissatisfied consumers. See generally

  id. ¶¶ 13–31.

          Each of our Plaintiffs purchased BKC products at Burger King stores in their home states,

  and each came away disappointed by the incongruity between what they received and what they

  expected based on BKC’s advertisements. See, e.g., id. ¶ 32 (“Mr. Coleman purchased a Whopper and

  a Big King at a Burger King store located in the state of Florida. Mr. Coleman expected the burgers

  that he purchased to be similar in size to the pictures of the burgers in Burger King’s advertisements

  and on Burger King’s store menu ordering board. However, the size of the burgers that Mr. Coleman

  received were much smaller than advertised and he was financially damaged as a result. If Mr. Coleman

  knew that said burgers were much smaller than advertised, he would not have purchased the

  burgers.”).

          In adjudicating BKC’s first motion to dismiss, see generally First Motion to Dismiss [ECF No.

  20], we agreed with BKC that Count I of the Amended Complaint violated federal pleading standards

  because the Plaintiffs tried to cram “fifty different state (and DC) consumer-protection statutes” into

  one cause of action. Coleman v. Burger King Corp., 2023 WL 5507730, at *2 (S.D. Fla. Aug. 25, 2023)

  (Altman, J.). We also found that—unless and until we certified a class—the Plaintiffs could assert

  “consumer-protection counts only for those states in which the named plaintiffs purchased their

  Burger King products.” Id. at *3. 2 We therefore dismissed Count I of the Amended Complaint




  2
    At the same time, we refused to dismiss the Plaintiffs’ claims for lack of standing and explained that
  we would revisit the questions surrounding the Plaintiffs’ standing once we decided whether class
  certification was appropriate. See Coleman, 2023 WL 5507730, at *4 (“Our named Plaintiffs have
  [standing] as to their own claims. At this stage, remember, the Plaintiffs have brought only a putative
  (which is to say, an aspirational) class action. As things stand today, therefore, they represent only their
  own claims and are proceeding for redress only as to their own injuries. One day, we’ll allow them to
  seek certification of a broader class of interests. And, when they request that certification, we’ll have
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  “without prejudice and with leave to amend.” Id. at *6. As for Count II, we agreed with BKC that the

  Plaintiffs couldn’t advance a breach-of-contract claim based on BKC’s “out-of-stores ads” since

  “courts generally consider it unreasonable for a person to believe that an advertisement constitutes a

  binding offer.” Id. at *7 (quoting Schultz v. Am. Airlines, Inc., 449 F. Supp. 3d 1301, 1312 (S.D. Fla.

  2020) (Altman, J.)). But we still allowed Count II to survive on the theory that BKC’s “in-store ‘menu

  ordering boards’” were “very different from the advertisements one might see on the Internet or on

  TV” and could constitute an “offer” under contract law. Ibid. Finally, we denied BKC’s request that

  we dismiss Counts III and IV—which asserted common-law claims of negligent misrepresentation

  and unjust enrichment under Florida law. See id. at *11.

          The Plaintiffs responded to our order with the SAC, which contains fourteen counts. Counts

  1 through 11 allege that BKC’s “deceptive, false and misleading” advertisements—which “materially

  inflate the size” of their products—violate the consumer-protection laws of eleven different states:

  Florida (Count 1), New York (Count 2), California (Count 3), Illinois (Count 4), Arizona (Count 5),

  Connecticut (Count 6), Massachusetts (Count 7), Michigan (Count 8), New Jersey (Count 9), Kentucky

  (Count 10), and Pennsylvania (Count 11). See generally SAC ¶¶ 70–224. Counts 12, 13, and 14 reassert

  the same breach-of-contract, negligent-misrepresentation, and unjust-enrichment claims that had

  formed the basis of Counts II, III, and IV of the Amended Complaint. See id. ¶¶ 225–244.

                                                    THE LAW

          To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

  factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

  556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). To meet this

  “plausibility standard,” a plaintiff must “plead[ ] factual content that allows the court to draw the



  to decide whether they can assert the claims of absent class members from other states. But that day
  is not today.”).
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  reasonable inference that the defendant is liable for the misconduct alleged.” Ibid. (citing Twombly, 550

  U.S. at 556). The standard “does not require ‘detailed factual allegations,’ but it demands more than

  an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ibid. (quoting Twombly, 550 U.S. at

  555). “[T]he standard ‘simply calls for enough fact to raise a reasonable expectation that discovery will

  reveal evidence’ of the required element.” Rivell v. Private Health Care Sys., Inc., 520 F.3d 1308, 1309–10

  (11th Cir. 2008) (quoting Twombly, 550 U.S. at 545). “The plausibility standard is not akin to a

  ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has acted

  unlawfully.” Iqbal, 556 U.S. at 678. On a motion to dismiss, “the court must accept all factual

  allegations in a complaint as true and take them in the light most favorable to plaintiff.” Dusek v.

  JPMorgan Chase & Co., 832 F.3d 1243, 1246 (11th Cir. 2016). And the “moving party bears the burden

  to show that the complaint should be dismissed.” Spring Solutions, Inc. v. Fils-Amie, 44 F. Supp. 3d 1224,

  1229 (S.D. Fla. 2014) (Cohn, J.) (quoting Mendez-Arriola v. White Wilson Med. Ctr., P.A., 2010 WL

  3385356, at *3 (M.D. Fla. Aug. 25, 2010) (Rodgers, J.)).

                                                  ANALYSIS

      I.      The Consumer-Protection Claims (Counts 1–11)

           Although the first eleven counts of the SAC rely on different states’ consumer-protection

  statutes, BKC says that we should dismiss all of them for two reasons. First, in BKC’s view, the

  Plaintiffs haven’t (and can’t) show that a “reasonable consumer” would be duped by BKC’s

  promotional photos because “[s]tyling ingredients for photographic purposes, such as by pulling them

  forward so a head-on image clearly shows what the burger contains, is not misleading to a reasonable

  consumer visiting a quick-service restaurant, and no precedent suggests otherwise.” MTD at 18. Second,

  BKC claims that the Plaintiffs’ “consumer fraud claims do not satisfy [FED. R. CIV. P. 9(b)] or plead

  causation” because the SAC fails to “allege that any of the nineteen plaintiffs personally saw the photos

  they (wrongly) claim are misleading.” Id. at 20–21. In advancing these arguments, BKC encourages us

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  to adopt the reasoning of the Eastern District of New York in Chimienti v. Wendy’s International, LLC,

  698 F. Supp. 3d 549 (E.D.N.Y. 2023) (Gonzalez, J.). See id. at 9 (“Plaintiffs in this case, and a plaintiff

  represented by the same lawyers in a companion suit filed in the Eastern District of New York against

  Burger King competitors McDonald’s and Wendy’s, alleged wide-ranging consumer fraud and breach

  of contract claims because, they assert, the burgers they ordered from these quick-service restaurants

  did not look like the meticulously crafted photos of those sandwiches in the restaurants’ advertising.

  A U.S. District Court judge in the Eastern District of New York has just dismissed all claims against

  McDonald’s and Wendy’s with prejudice, finding those claims to be unreasonable and inadequately

  pleaded. BKC submits that Plaintiffs’ claims here should fail for the same reasons.” (cleaned up)).

          The lawsuit in Chimienti, as here, was filed by a disgruntled plaintiff who believed that

  McDonald’s and Wendy’s were “publish[ing] advertisements with pictures of their menu items that

  look more appealing than how the menu items turn out when served to customers.” 698 F. Supp. 3d

  at 554. The Chimienti Plaintiff alleged that the defendants “overstate[d] the amount of toppings” and

  “the thickness of the beef patties” in their advertisements and that, because of this deception, the

  plaintiff “expected the burgers that he purchased to be similar in size to the pictures of the burgers in

  Defendants’ advertisements and on Defendants’ store menu ordering boards. However, the size of

  the burgers that [the plaintiff] received were much smaller than advertised and [he was] financially

  damaged as a result.” Id. at 554–55 (cleaned up). The court found these allegations insufficient to state

  a viable claim under Section 349 of New York’s General Business Law, which “provides a cause of

  action for any person injured by the deceptive acts or practices in the conduct of any business, trade

  or commerce or in the furnishing of any service[.]” Id. at 556 (quoting Chen v. Dunkin’ Brands, Inc., 954

  F.3d 492, 500 (2d Cir. 2020)). Because Chimienti addresses so many of the issues we’re dealing with

  here, we’ll spend some time dissecting its holding.




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          As an initial matter, the Chimienti Court found, as a matter of New York law, that the plaintiff

  could not state a claim because he “did not allege that [he] ever saw the advertisements that [he]

  claimed were misleading before purchasing the advertised products from defendants.” Id. at 557. Plus,

  the court reasoned, even if he had seen those allegedly misleading advertisements, it was unlikely that

  those ads would have misled a reasonable consumer. Id. at 559. After all, “Plaintiff alleges neither that

  Defendants use more meat than stated in these advertisements to create the pictures of the products

  used in the ads nor that Plaintiff received less meat than described in the ads.” Ibid.; see also ibid. (“As

  described above, Plaintiff does not allege that Defendants created a misleading impression about the

  size of their meals by using more meat in their advertisements than they serve in their stores—he

  instead alleges that Defendants create this impression by using an identical amount of uncooked meat

  in their ads. . . . This concession that both the advertisements and the products served in stores contain

  the same amount of meat is fatal to Plaintiff’s claims.”). 3 In the court’s view, in short, the plaintiff

  hadn’t plausibly alleged that “a significant portion of the general consuming public or of targeted

  consumers, acting reasonably in the circumstances, could be misled.” Id. at 560 (quoting Lee v. Mondelez

  Int’l, Inc., 637 F. Supp. 3d 116, 132 (S.D.N.Y. 2022)). BKC now asks us to apply Chimienti’s holding to

  our facts.

          The Plaintiffs counter along several fronts. Although they agree that, whichever state’s

  consumer-protection laws apply, “the ‘reasonable consumer’ standard applies here to determine

  whether a representation is false or deceptive,” they insist that we’ve already found that “most

  reasonable consumers would be vexed” by BKC’s advertisements. Response at 9–10. The Plaintiffs

  also say that Chimienti is distinguishable from our facts because “the burger patties [there] were inflated



  3
    The Chimienti Court didn’t address Rule 9(b)’s “pleading-with-particularity requirement[ ]” because
  “an action under [N.Y. GEN. BUS. LAW § 349] does not require proof of the same essential elements
  (such as reliance) as common-law fraud[.]” 698 F. Supp. 3d at 556 (quoting Pelman v. McDonald’s Corp.,
  396 F.3d 508, 511 (2d Cir. 2005)).
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  in advertisements by as low as only 15%,” whereas BKC’s “advertisements inflated the beef patty by

  double the amount[.]” Id. at 10–11. The Plaintiffs separately reject BKC’s position that Rule 9(b)

  applies “to Plaintiffs’ claims for violations of state consumer statutes”—and, in the alternative, they

  say we “previously found that Plaintiffs have alleged sufficient facts to meet the Rule 9(b) standard[.]”

  Id. at 12. Finally, the Plaintiffs argue that they’ve adequately alleged causation because, “at the time of

  their purchase, they expected the burgers that they purchased to be similar in size to the pictures of

  the burgers in Burger King’s advertisements and on Burger King’s store menu ordering board.” Ibid. 4

          To assert a claim under Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”), the

  plaintiff must show “(1) a deceptive act or unfair practice; (2) causation; and (3) actual damages.”

  Figueredo v. Tropicale Foods, LLC, 2024 WL 1462404, at *2 (S.D. Fla. Apr. 4, 2024) (Altman, J.) (quoting

  Carriuolo v. Gen. Motors Co., 823 F.3d 977, 985–86 (11th Cir. 2016)). A consumer is “deceived” if “there

  is a representation, omission, or practice that is likely to mislead the consumer acting reasonably in

  the circumstances, the consumer’s detriment. This standard requires a showing of probable, not

  possible, deception, that is likely to cause injury to a reasonable relying consumer.” Zlotnick v. Premier



  4
    Both sides try to buttress their arguments with evidence they’ve uncovered during discovery. See, e.g.,
  MTD at 24 (“Further, even if any of the Plaintiffs had alleged visiting a Burger King and ordering a
  sandwich based on no information other than a photo of the item—which none of them did—the
  evidentiary record developed in discovery precludes Plaintiffs from alleging at this stage that any photo
  of a Burger King hamburger used a larger patty than Burger King restaurants serve to guests.”);
  Response at 13 (“In addition, Plaintiffs have submitted evidence in support of their motion for class
  certification, which Defendant ignores, showing that the same challenged photograph of the Whopper
  was uniform at all major food delivery services and at various Burger King drive-through locations.”).
  We won’t be considering any of this extraneous evidence, which would convert BKC’s motion to
  dismiss into a motion for summary judgment. See Day v. Taylor, 400 F.3d 1272, 1275–76 (11th Cir.
  2005) (“The district court generally must convert a motion to dismiss into a motion for summary
  judgment if it considers materials outside the complaint.”). Although the “incorporation-by-reference
  doctrine” allows us to consider evidence if it “is (1) central to the plaintiff’s claims; and (2)
  undisputed,” Johnson v. City of Atlanta, 107 F.4th 1292, 1300 (11th Cir. 2024), much of the parties’
  evidence is, in fact, quite disputed, see generally Objections to Plaintiff’s Reply in Support of Class
  Certification [ECF No. 54]; Defendant’s Motion for Sanctions [ECF No. 71]. We therefore adopt
  BKC’s prudent suggestion that we “need not . . . consider any documents other than the SAC and the
  sources Plaintiffs rely upon in the SAC” to adjudicate the MTD. Reply at 14.
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  Sales Grp., Inc., 480 F.3d 1281, 1284 (11th Cir. 2007) (cleaned up); see also Coleman v. CubeSmart, 328 F.

  Supp. 3d 1349, 1361 (S.D. Fla. 2018) (Martinez, J.) (“In determining whether a representation is likely

  to mislead consumers acting reasonably, courts consider the net impression created. If the statements

  are likely to mislead reasonable consumers, then it makes no difference if the statements are technically

  or literally true.”).

           Both sides agree that we should apply Florida’s articulation of the “reasonable consumer test”

  to all eleven consumer-protection counts because each of the eleven states at issue here uses a

  materially similar test. See MTD at 16–17 (“Courts of Appeals covering the other states where Plaintiffs

  reside also have explained the test in similar ways.”); Response at 9 (“Defendant concedes that the

  ‘reasonable consumer’ standard applies here to determine whether a representation is false or

  deceptive under the laws of Arizona, California, Connecticut, Florida, Illinois, Kentucky,

  Massachusetts, Michigan, New Jersey, New York, and Pennsylvania, and that the standard is

  substantially similar in said states.”). We agree that all but one of these states apply the reasonable-

  consumer test in (substantially) the same way as Florida does and will apply this standard to those ten

  counts. See Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008) (“Appellants’ claims under

  [the California Unfair Competition Law] are governed by the ‘reasonable consumer’ test. . . . Under

  the reasonable consumer standard, Appellants must show that members of the public are likely to be

  deceived.” (cleaned up)); Richards v. Direct Energy Servs., LLC, 915 F.3d 88, 100 (2d Cir. 2019) (“An act

  or practice is deceptive under [Connecticut law] if the defendant makes a material representation or

  omission likely to mislead consumers who interpret the message reasonably under the circumstances.

  The deception standard is objective in nature, and a representation is deceptive only if it is likely to

  mislead rather than merely has the tendency or capacity to do so.” (cleaned up)); Vanlaningham v.

  Campbell Soup Co., 492 F. Supp. 3d 803, 808 (S.D. Ill. 2020) (“The reasonable consumer test [in Illinois]

  requires a probability that a significant portion of the general consuming public, acting reasonably in

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   the circumstances, could be misled.” (cleaned up)); Dumont v. Reily Foods Co., 934 F.3d 35, 40 (1st Cir.

   2019) (“An advertisement is deceptive [in Massachusetts] when it has the capacity to mislead

   consumers, acting reasonably under the circumstances, to act differently from the way they otherwise

   would have acted (i.e., to entice a reasonable consumer to purchase the product).” (cleaned up)); Dix

   v. Am. Bankers Life Assurance Co. of Fla., 415 N.W.2d 206, 209 (Mich. 1987) (“We hold that members

   of a class proceeding under the Consumer Protection Act need not individually prove reliance on the

   alleged misrepresentations. It is sufficient if the class can establish that a reasonable person would

   have relied on the representations.”); 5 Deibler v. SanMedica Int’l, LLC, 2021 WL 6198062, at *11 n.21

   (D.N.J. Dec. 30, 2021) (“Under the New Jersey Consumer Fraud Act . . . , the issue of whether a

   particular statement on a product’s packaging or labeling is false, deceptive, or materially misleading

   is evaluated according to an objective ‘average consumer’ standard.”); Chen v. Dunkin’ Brands, Inc., 954

   F.3d 492, 500 (2d Cir. 2020) (“Under [New York law], it is well settled that a court may determine as

   a matter of law that an allegedly deceptive advertisement would not have misled a reasonable

   consumer.”); M.T. v. Saum, 7 F. Supp. 3d 701, 705 (W.D. Ky. 2014) (“[The Kentucky Consumer

   Protection Act] applies only where there is some evidence of unfair, false, misleading or deceptive acts

   . . . . The terms false, misleading and deceptive are given their ordinary meaning as understood by a

   reasonably prudent person of common intelligence.” (cleaned up)); Slapikas v. First Am. Title Ins. Co.,

   298 F.R.D. 285, 292 (W.D. Pa. 2014) (“To establish liability under [Pennsylvania law] a plaintiff must




   5
     Michigan law is somewhat unique in that it modifies the “reasonable consumer” test if the
   defendant’s alleged deception involves “an omission that would mislead or deceive a reasonable
   consumer.” Zine v. Chrysler Corp., 600 N.W.2d 384, 398 (Mich. Ct. App. 1999). In that kind of scenario
   (call it the deceptive-omission case), “the issue [under Michigan law] is not whether the omission is
   misleading to a reasonable consumer but whether the consumer could reasonably be expected to
   discover the omission at issue.” Ibid. Since this case doesn’t involve “misleading or deceptive
   omissions,” though, we needn’t bother with Michigan’s modified reasonable-consumer test.
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   present evidence showing . . . a deceptive act that is likely to deceive a consumer acting reasonably

   under similar circumstances.”).

           This leaves us with one state that doesn’t fit neatly into the “reasonable consumer” paradigm:

   Arizona. See MTD at 17 n.3 (recognizing that “Arizona law may or may not be slightly different”).

   Arizona’s consumer-protection law is unique in that it doesn’t consider reasonableness at all and instead

   asks us to analyze the allegedly deceptive conduct “from the perspective of the ‘least sophisticated

   reader[.]’” Cheatham v. ADT Corp., 161 F. Supp. 3d 815, 829 (D. Ariz. 2016); see also Correa v. Pecos Valley

   Dev. Corp., 617 P.2d 767, 771 (Ariz. Ct. App. 1980) (“Injury occurs when the consumer relies on the

   misrepresentation, even though reliance need not be reasonable.”). The “least-sophisticated” reader

   or consumer “can be presumed to possess a rudimentary amount of information about the world”—

   and, in applying Arizona law, we don’t engage in “bizarre or idiosyncratic interpretations” to preserve

   a patently frivolous claim. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194 (11th Cir. 2010). At

   the same time, Arizona law requires us to assume “that consumers of below-average sophistication or

   intelligence are especially vulnerable to fraudulent schemes” and prohibits us from assessing

   deceptiveness based on “assumptions about the ‘average’ or ‘normal’ consumer.” Clomon v. Jackson,

   988 F.2d 1314, 1319 (2d Cir. 1993). That’s why, under Arizona law, we focus on whether there was a

   “capacity to mislead” rather than on whether a reasonable consumer would be misled. See Madsen v.

   W. Am. Mortg. Co., 694 P.2d 1228, 1232 (Ariz. Ct. App. 1985) (“[I]n evaluating the [defendant’s]

   representations, the test is whether the least sophisticated reader would be misled. Technical

   correctness of the representations is irrelevant if the capacity to mislead is found.” (cleaned up)).

           Putting Arizona and the “least-sophisticated consumer” test aside for the moment, the main

   issue before us is relatively straightforward: Would a “reasonable consumer” be deceived by BKC’s

   in-store advertisements? After careful review—and drawing all reasonable inferences for the

   Plaintiffs—we find it plausible to believe that some reasonable consumers could be deceived by BKC’s

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   advertisements. See Iqbal, 556 U.S. at 678 (“To survive a motion to dismiss, a complaint must contain

   sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

   (quoting Twombly, 556 U.S. at 570)). The Plaintiffs’ issue with the offending in-store (and online)

   advertisements is that BKC “advertises its burgers as large burgers compared to competitors and

   containing oversized meat patties and ingredients that overflow over the bun to make it appear that

   the burgers are approximately 35% larger in size, and contain more than double the meat, than the

   actual burger.” SAC ¶ 3; see also id. ¶ 11 (“Burger King materially overstates the size of nearly every

   menu item in its current advertisements[.]”); Response at 10–11 (“Here, Plaintiffs plausibly allege in

   the [SAC] that the advertisements inflated the beef patty by double the amount, that is 100%.”). We

   agree with the Plaintiffs that, at this very preliminary phase of the case, and drawing all reasonable

   inferences in the Plaintiffs’ favor, BKC’s advertisements—when compared to other, similar

   advertisements—have a greater capacity to deceive or mislead reasonable consumers.

           It’s true (of course) that the exaggeration of an item’s quantity (and, for that matter, quality)

   with idealized imagery is an extremely common technique in the world of food advertising. To the

   extent BKC argues that reasonable consumers usually aren’t fooled by these types of advertisements,

   we agree. See, e.g., Chimienti, 698 F. Supp. 3d at 559 (“Several courts within the Second Circuit have

   dismissed . . . . claims in analogous circumstances where customers received the same objective

   amount of product that was advertised yet alleged that the defendants’ advertisements made it appear

   that customers would receive a larger portion.”); Wurtzburger v. Ky. Fried Chicken, 2017 WL 6416296, at

   *3 (S.D.N.Y. Dec. 13, 2017) (“The Complaint asserts that the food packaging (the bucket) was

   deceptive because Plaintiff believed she would receive more chicken. Such a contention, however, is

   inconsistent with Plaintiff’s other allegations and lacks reason. Plaintiff affirmatively states she

   purchased an eight piece chicken meal. She does not claim she received less than eight pieces. To the

   contrary, the alleged deceptive act is that she expected KFC to deliver a bucket of chicken filled to the

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   rim, in excess of the number of pieces she purchased, because the bucket could accommodate more

   than the eight pieces. Such a practice—the use of a larger than necessary bucket—is not materially

   deceptive or misleading to a reasonable consumer acting reasonably under the circumstances,

   especially when the consumer ordered, purchased, and received the precise number of items

   requested.” (cleaned up)); Daniel v. Mondelez Int’l, Inc., 287 F. Supp. 3d 177, 193–94 (E.D.N.Y. 2018)

   (“Where consumers only care about the amount or quantity of food, the actual size of the candies is

   immaterial when the Product affirmatively discloses how much food the box contains. Consumers

   receive the same amount or quantity of food, as provided on the label, regardless of the density of the

   candy and whether the container is larger than necessary.”); see also Wysong Corp. v. APN, Inc., 889 F.3d

   267, 271 (6th Cir. 2018) (Thapar, J.) (“Think, for instance, of the reasonable consumer at the fast-food

   drive-through. Does he expect that the hamburger he receives at the window will look just like the

   one pictured on the menu? Of course not. He knows that puffery is a fact of life.”).

           But the Plaintiffs have alleged that BKC’s advertisements go beyond mere exaggeration or

   puffery. BKC’s advertisements (the Plaintiffs say) “make it appear that the burgers are approximately

   35% larger in size, and contain more than double the meat, than the actual burger.” SAC ¶ 3. Even

   more problematically, BKC’s advertisements changed in 2017 to “materially overstate the size of its

   burgers” in comparison to previous years. Here’s an illustration of this practice, as alleged in the SAC:




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   SAC ¶ 8. The Plaintiffs, in short, aren’t just arguing that BKC is exaggerating the quantity or quality of

   its products through common food-styling practices; they’re also alleging that these advertisements

   are misleading customers into believing that the size of BKC’s burgers has, in fact, increased since

   2017—when it hasn’t. See id. ¶ 9 (“Although the size of the Whopper and the beef patty increased

   materially in Burger King’s advertisements, the amount of beef or ingredients contained in the actual

   Whopper that customers receive did not increase.”); Response at 11 (“If Burger King’s Whopper

   patties were all the same weight and its policy with food stylists was to use the same Whopper

   ingredients, there remains an issue of fact as to how the Whopper patty seemingly doubled in size in

   advertisements.”).

           These allegations thus distinguish our case from Chimienti in two meaningful ways. First, the

   Plaintiffs have pled that BKC’s advertisements overstate the size of its products to a much greater

   degree than the Chimienti Defendants were accused of doing. Compare SAC ¶ 3 (“Burger King

   advertises its burgers as large burgers compared to competitors and containing oversized meat patties

   and ingredients that overflow over the bun to make it appear that the burgers are approximately 35%

   larger in size, and contain more than double the meat, than the actual burger.”), with Complaint,

   Chimienti v. Wendy’s Int’l, LLC, No. 22-cv-2880 (E.D.N.Y. May 17, 2022), ECF No. 1 ¶ 8 (“The beef

   patties that Wendy’s uses for its advertisements are not fully cooked to make it appear that they are

   approximately 15–20% larger than the beef patties that are actually served to customers.”), and id. ¶

   26 (same, but for McDonald’s beef patties). As we explained in our prior order, reasonable consumers

   could be misled if the disparity between the size of a burger in an ad and size of the burger in the real

   world becomes too great. See Coleman, 2023 WL 5507730, at *8 (“We’ll agree with Burger King (of

   course) that most reasonable people would be unfazed by, say, a one-percent disparity between the

   amount of food they were offered and the amount they ultimately received—just as (we would think)

   Burger King would concede that a fifty-percent delta between what was promised and what was sold

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   would probably vex most reasonable consumers. . . . Who are we to decide whether such a seemingly

   substantial difference between what was promised and what was sold was (or was not) enough to alter

   the purchasing preferences of reasonable American consumers?”). 6

           Second, and perhaps more importantly, the Plaintiffs plausibly allege that a reasonable consumer

   could have been deceived into believing that BKC had increased the size of its burgers since 2017

   because BKC’s advertisements “show[ ] that the burger increased in size by approximately 35% and

   the amount of beef increased by more than 100%” in comparison to BKC’s pre-2017 advertisements.

   SAC ¶ 8; see also id. ¶ 9 (“Although the size of the Whopper and the beef patty increased materially in

   Burger King’s advertisements, the amount of beef or ingredients contained in the actual Whopper that

   customers receive did not increase.”). A change like this (the Plaintiffs have plausibly suggested) could

   lead reasonable consumers to believe (incorrectly, as it turns out) that BKC increased the size of its

   burgers in 2017. Cf. Fink v. Time Warner Cable, 714 F.3d 739, 742 (2d Cir. 2013) (“[I]n determining




   6
     BKC appears to suggest that a reasonable consumer can never be deceived by an advertisement, so
   long as the advertisement accurately portrays the product’s ingredients. See MTD at 18 (“The Burger
   King Whopper undisputedly contains all the ingredients one can see in the website photo pasted into
   the SAC: a quarter-pound beef patty, lettuce, tomato and onion slices, pickles, and two sauces.
   Plaintiffs’ own example of a written description of the Whopper accurately describes the beef patty
   used in the Whopper as being ‘¼ pound’ in its precooked weight. In no sense, therefore, did BKC
   promise guests more food than it delivered. Styling ingredients for photographic purposes, such as by
   pulling them forward so a head-on image clearly shows what the burger contains, is not misleading to
   a reasonable consumer visiting a quick-service restaurant, and no precedent suggests otherwise.”). But
   the reasonable-consumer test is not so rigid. To determine whether an advertisement is “likely to
   mislead consumers acting reasonably,” we consider “the net impression created” and disregard the
   advertisement’s literal truth if it is still “likely to mislead reasonable consumers[.]” Zamber v. Am.
   Airlines, Inc., 282 F. Supp. 3d 1289, 1299 (S.D. Fla. 2017) (Martinez, J.). The mere fact that BKC’s
   advertisements dutifully inform a customer about a burger’s ingredients is thus not enough to prevent
   confusion if the advertisements also convey something misleading about that burger. So, to use a very
   obvious example, an advertisement can still be misleading if it accurately markets a burger as
   containing two buns, a meat patty, lettuce, tomato, and onions if the burger patty itself turns out to
   be, say, 90% smaller than advertised. Taking the Plaintiffs’ allegations as true (as we must at this stage
   of the litigation), we agree that a reasonable consumer could be misled by BKC’s advertisements given
   that (allegedly) they “materially overstate[ ] the size of nearly every menu item”—even if those same
   advertisements accurately portray the product’s ingredients. SAC ¶ 11.
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   whether a reasonable consumer would have been misled by a particular advertisement, context is

   crucial.”). BKC’s only response (raised for the first time in Reply) is that “[t]he current and past photos

   are styled entirely differently, and taken from different angles,” and that the Plaintiffs’ allegations are

   “just hyperbole unsupported by any allegations of actual facts.” Reply at 10. This argument completely

   ignores the strictures of Rule 12(b)(6). The Plaintiffs allege that BKC’s advertisements changed in

   2017, and they even provide a side-by-side comparison to substantiate this claim. See SAC ¶ 8. We

   must “accept[ ] the facts alleged in the [Plaintiff’s SAC] as true” and “draw[ ] all reasonable inferences

   in [the Plaintiffs’] favor,” even if BKC has a reasonable explanation for the change it implemented in

   2017. Keating v. City of Miami, 598 F.3d 753, 762 (11th Cir. 2010); see also Kominis v. Starbucks Corp., 692

   F. Supp. 3d 236, 245 (S.D.N.Y. 2023) (“While it is well settled that in appropriate circumstances, a

   court may determine at the motion to dismiss stage that an allegedly deceptive misrepresentation

   would not have misled a reasonable consumer as a matter of law . . . such relief should rarely be

   granted[.] That is because the question of whether a representation is materially misleading is generally

   a question of fact not suited for resolution at the motion to dismiss stage.” (cleaned up)).

           Finally, we reiterate our view that the Plaintiffs’ allegations are sufficient to satisfy Rule 9(b)’s

   heightened pleading standards. 7 Under Rule 9(b), a plaintiff bringing a claim sounding in fraud must

   allege: “(1) the precise statements, documents, or misrepresentations made; (2) the time, place, and

   person responsible for the statement; (3) the content and manner in which these statements misled



   7
     For what it’s worth, we also agree with the Plaintiffs that “Rule 9(b) does not to apply” to at least
   some of their “claims for violations of state consumer statutes.” Response at 11; see also, e.g., Chimienti,
   698 F. Supp. 3d at 556 (“[A]n action under [New York’s consumer-protection statute] is not subject
   to the pleading-with-particularity requirements of Rule 9(b).”); Warriors & Fam. Assistance Ctr. LLC v.
   Trajector Inc., 2024 WL 4627134, at *2 (N.D. Fla. Sept. 24, 2024) (Winsor, J.) (“There seems to be no
   binding precedent on whether Rule 9(b) necessarily applies to all Lanham Act false advertising claims
   or all FDUTPA claims.”); but see Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009) (“In fact,
   we have specifically ruled that Rule 9(b)’s heightened pleading standards apply to claims for violations
   of [California’s consumer-protection statute].”). None of this matters much here, though, because we
   find that the Plaintiffs have satisfied Rule 9(b) in any event.
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   the Plaintiffs; and (4) what the defendants gained by the alleged fraud.” Am. Dental Ass’n v. Cigna Corp.,

   605 F.3d 1283, 1291 (11th Cir. 2010) (cleaned up). As we explained in our order denying BKC’s First

   Motion to Dismiss:

             Our Plaintiffs have met this standard here: In addition to the allegations we’ve
             highlighted above, they claim that they bought specific Burger King food items at
             Burger King stores in their resident states, and that they were duped by the
             promotional images of the burgers they saw online, on TV, and on Burger King’s
             menu-ordering boards. They also allege that every class member ‘purchased an
             Overstated Menu Item’ sometime after September 1, 2017. And they identify what
             they believe to be the salient misrepresentations: images of the burgers and sandwiches
             displayed on Burger King’s ‘website and store menu ordering boards. Based on these
             allegations, we find that the Plaintiffs have adequately (if just barely) pled a cause of
             action for negligent misrepresentation because they’ve given us the who (Burger King),
             what (oversized images of the burgers), when (after September 1, 2017), where (online,
             on TV, and in stores), and how (advertising and in-store misrepresentations about the
             size of the menu items) of the misstatements.

   Coleman, 2023 WL 5507730, at *9 (cleaned up). The Plaintiffs’ allegations haven’t materially changed

   since then, and we see no reason (nor has BKC articulated one) to reconsider our prior holding. Cf.

   Z.K. Marine Inc. v. M/V Archigetis, 808 F. Supp. 1561, 1563 (S.D. Fla. 1992) (“[Reconsideration] is to

   correct manifest errors of law or fact or to [consider] newly discovered evidence.”). 8

                                                *       *       *

             For all these reasons, BKC’s MTD is DENIED as to the Plaintiffs’ consumer-protection

   claims (Counts 1–11).

       II.       The Florida Common-Law Claims (Counts 12–14)

             The Plaintiffs also advance three common-law claims under Florida law: breach of contract

   (Count 12); negligent misrepresentation (Count 13); and unjust enrichment (Count 14). See SAC ¶¶




   8
    BKC insists that the Plaintiffs failed to plead causation because “none of the Plaintiffs claim to have
   seen [BKC’s advertisements] before ordering burgers from Burger King restaurants.” MTD at 21.
   We’ll address (and reject) this argument below. See post, at 19 & note 10.
                                                        17
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   225–44. 9 We rejected BKC’s prior request that we dismiss these counts. See generally Coleman, 2023 WL

   5507730, at *6–11. Undeterred by our prior ruling, BKC has again moved to dismiss these three

   counts—arguing that there has been a “change of circumstances” since our previous order that now

   justifies dismissal. MTD at 23. The Plaintiffs counter that BKC has “not provide[d] any new evidence

   to suggest that the Court should deviate from its prior ruling.” Response at 19. After careful review,

   we reject BKC’s arguments here as well.

           A. Breach of Contract (Count 12)

           We’ll begin with the breach-of-contract claim. We previously found that BKC’s “in-store

   ‘menu order boards’” could “become an offer if a ‘reasonable person’ would have thought that ‘the

   advertisement or solicitation was intended as an offer.’” Coleman, 2023 WL 5507730, at *7 (quoting

   Schultz v. Am. Airlines, Inc., 2018 WL 7287194, at *3 (S.D. Fla. Sept. 25, 2018) (Reinhart, Mag. J.), report

   and recommendation adopted, 2018 WL 7287149 (S.D. Fla. Oct. 11, 2018) (Rosenberg, J.)). We also

   determined that a reasonable person “could have viewed [BKC’s] in-store depictions of its menu items

   as offers,” and that the Plaintiffs had plausibly alleged a contractual breach because they claimed “that

   they purchased Burger King products on the expectation that those items would resemble the images

   on Burger King’s store ordering board. They also allege that they received items that were materially

   smaller than advertised, and that they wouldn’t have purchased those items had they known their true

   size.” Id. at *7–8.

           BKC insists that the “present record” “no longer supports any premise that Plaintiffs, or

   anyone else, saw the cropped photo pasted into the SAC without any accompanying context, or that

   the photo ‘promised’ more beef than the guest would receive.” MTD at 23; see also Reply at 12

   (“Plaintiffs’ inability to contend any longer that BKC used a larger patty in the challenged photos than



   9
     Although the SAC doesn’t specify which state’s law these three counts are brought under, the
   Plaintiffs clarify in their Response that we should apply Florida law. See Response at 17–20.
                                                       18
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   Burger King restaurants serve to guests is independently fatal to their contract claim.”). BKC also

   argues that the Plaintiffs haven’t pled “the appearance of any actual in-store menu board they saw” or

   alleged that they purchased food from BKC because of that in-store menu board. MTD at 23. We

   disagree.

           The Plaintiffs’ breach-of-contract claim remains viable because they allege that the food they

   received didn’t “resemble the images on Burger King’s store ordering board.” Coleman, 2023 WL

   5507730, at *8 (emphasis added & cleaned up). “To prevail in a breach of contract action, a plaintiff

   must prove: (1) a valid contract existed; (2) a material breach of the contract; and (3) damages.”

   Deauville Hotel Mgmt., LLC v. Ward, 219 So. 3d 949, 953 (Fla. 3d DCA 2017). A breach is not “material”

   unless “the failure to perform the contractual obligation [is] central to the contract . . . [because] trivial

   noncompliance and minor failings do not constitute material breaches.” Eclectic Synergy, LLC v. Seredin,

   347 So. 3d 27, 29 (Fla. 4th DCA 2022) (cleaned up). We previously found that “a sandwich’s

   appearance [is] an essential term of a contract” and that there can be a breach when there’s “a

   seemingly substantial difference between what was promised and what was sold”—such as when the

   buyer “receive[s] items that [are] materially smaller than advertised[.]” Coleman, 2023 WL 5507730, at

   *8. And our Plaintiffs continue to plausibly allege that the burgers they bought were materially smaller

   than the burgers they saw advertised on the menu boards. See SAC ¶ 229 (“Defendant failed to disclose

   that the Overstated Menu Items were smaller than advertised.”); Response at 18 (“Here, Plaintiffs

   allege that Burger King made an offer through its advertisements and provided specification of the

   essential terms, which were actual photographs of what the products looked like, and Plaintiffs

   accepted and purchased the Menu Items based on the essential terms of the offers.”). 10 We therefore

   find that the Plaintiffs have alleged a plausible breach-of-contract claim here.



   10
     BKC’s contention that the Plaintiffs failed “to specify an instore or other advertisement that [they]
   personally saw and that induced [their] purchase[s],” Reply at 6, finds no support in the SAC’s
                                                        19
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           B. Negligent Misrepresentation (Count 13)

           We also find that the Plaintiffs have stated a viable negligent-misrepresentation claim. In our

   prior order, we held that BKC’s “oversized images of the burgers”—which the Plaintiffs “saw online,

   on TV, and on Burger King’s menu-ordering boards”—could constitute an actionable

   misrepresentation under Florida law. Coleman, 2023 WL 5507730, at *9. We explained that the

   Plaintiffs had “adequately (if just barely)” met Rule 9(b)’s heighted standard for fraud-based claims by

   giving us “the who (Burger King), what (oversized images of the burgers), when (after September 1,

   2017), where (online, on TV, and in stores), and how (advertising and in-store misrepresentations about

   the size of the menu items) of the misstatements.” Ibid. We also rejected BKC’s position that the

   Plaintiffs had to show that a “special relationship exists between BKC and [the Plaintiffs] imposing

   an extraordinary duty of care on BKC,” because Florida law does not require “a special relationship

   between the plaintiff and the defendant.” Ibid. In rejecting this “special relationship” argument,

   however, we allowed BKC to “re-raise this issue in a subsequent motion to dismiss, but only if it finds

   Florida-law cases to support its position.” Id. at *10 n.4. BKC has done just that—and now cites

   several Florida cases that (it believes) support its position. See MTD at 25 (“[The Court] should dismiss

   the negligent misrepresentation claim because Florida allows such claims only against defendants that

   are in the business of offering advice. An ordinary buyer-seller relationship is not sufficient.”).




   allegations. In fact, the Plaintiffs allege that the offending images appear “on [BKC’s] website and
   store menu ordering boards” and that BKC has been using these same advertisements since
   “September 2017.” SAC ¶¶ 4, 6. The Plaintiffs also claim that they observed these pictures (both
   online and in stores) and that they purchased food from BKC with the expectation that the food
   would resemble these advertisements. See id. ¶ 32 (“Mr. Coleman expected the burgers that he
   purchased to be similar in size to the pictures of the burgers in Burger King’s advertisements and on
   Burger King’s store menu ordering board. However, the size of the burgers that Mr. Coleman received
   were much smaller than advertised and he was financially damaged as a result. If Mr. Coleman knew
   that said burgers were much smaller than advertised, he would not have purchased the burgers.”).
   These allegations are sufficient at this stage of the case.
                                                      20
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             BKC is right that, in many jurisdictions, “the defendant must be in a special relationship of

   trust or confidence with the plaintiff” and that, “absent a special relationship giving rise to a duty of

   care, a plaintiff cannot establish negligent misrepresentation.” 37 C.J.S. FRAUD § 78 (2024); see also

   Miller’s Bottled Gas, Inc. v. Borg-Warner Corp., 955 F.2d 1043, 1052 n.2 (6th Cir. 1992) (“Some courts

   impose liability upon a seller for negligent misrepresentation only if there existed a ‘closer degree of

   trust and reliance than that of the ordinary buyer and seller.’” (quoting Coolite Corp. v. Am. Cyanamid

   Co., 384 N.Y.S.2d 808, 811 (N.Y. App. Div. 1976))). But Florida law doesn’t seem to require plaintiffs

   to allege this kind of special relationship as a prerequisite for asserting a negligent-misrepresentation

   claim. As we previously explained, Florida “has expressly adopted the Restatement (Second) of Torts’

   position on negligent misrepresentation contained in section 552.” Coleman, 2023 WL 5507730, at *9

   (cleaned up) (citing Gilchrist Timber Co. v. ITT Rayonier, Inc., 696 So. 2d 334, 339 (Fla. 1997)). 11 And “the



   11
        That section of the Restatement reads as follows:

             (1) One who, in the course of his business, profession or employment, or in any other
             transaction in which he has a pecuniary interest, supplies false information for the
             guidance of others in their business transactions, is subject to liability for pecuniary
             loss caused to them by their justifiable reliance upon the information, if he fails to
             exercise reasonable care or competence in obtaining or communicating the
             information.

             (2) Except as stated in Subsection (3), the liability stated in Subsection (1) is limited to
             loss suffered

                     a. by the person or one of a limited group of persons for whose benefit and
                     guidance he intends to supply the information or knows that the recipient
                     intends to supply it; and

                     b. through reliance upon it in a transaction that he intends the information to
                     influence or knows that the recipient so intends or in a substantially similar
                     transaction.

             (3) The liability of one who is under a public duty to give the information extends to
             loss suffered by any of the class of persons for whose benefit the duty is created, in
             any of the transactions in which it is intended to protect them.

                                                         21
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   central principle operating within section 552 is that the defendant supplier of information must have

   a pecuniary interest in the transaction or context in which the information is supplied in order to merit the

   imposition of a duty of care in obtaining and communicating the information.” Blumstein v. Sports

   Immortals, Inc., 67 So. 3d 437, 441 (Fla. 4th DCA 2011) (emphasis added) (quoting State by Bronster v.

   U.S. Steel Corp., 919 P.2d 294, 308 (Haw. 1996)); see also Metrocity Holdings, LLC v. Bank of Am., N.A.,

   2023 WL 6064516, at *9 (S.D. Fla. Sept. 18, 2023) (Reinhart, Mag. J.) (“BOA does not address that

   under Section 552, a pecuniary interest may be a sufficient basis for imposing a duty of care in

   supplying information.”). The Blumstein Court specifically distinguished Florida from states (like New

   York) that explicitly require a “special relationship”—pointing out that these other jurisdictions

   “narrowed the tort of negligent misrepresentation by requiring the existence of a ‘special relationship’”

   instead of focusing on whether there was a pecuniary interest between the parties. 67 So. 3d at 441 &

   n.2 (emphasis added).

           Resisting this common-sense reading of Florida law, BKC maintains that, “[a]lthough Florida

   courts do not use the term ‘special relationship,’” Florida-law cases suggest that a defendant cannot

   be liable for negligent misrepresentation unless there are “bonds of trust with the plaintiffs[,] and [the

   defendants] were in the business of advising parties in the plaintiffs’ positions.” MTD at 25. In support

   of this point, BKC says that the balance of Florida case law allowing negligent-misrepresentation

   claims to proceed “involved the plaintiffs’ reliance on advice provided by defendants that were in the

   business of offering that advice professionally.” Id. at 26.

           But none of BKC’s cases held (or even implied) that Florida law requires a plaintiff asserting

   a negligent-misrepresentation claim to identify a special relationship. See Wallerstein v. Hosp. Corp. of

   Am., 573 So. 2d 9, 10 (Fla. 4th DCA 1990) (finding negligent misrepresentation where “the appellee




   RESTATEMENT (SECOND) OF TORTS § 552 (1977).
                                                        22
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   doctors assured [the plaintiffs] that the child was healthy and suitable for adoption”); Butler v. Yusem,

   44 So. 3d 102, 106 (Fla. 2010) (holding that “[j]ustifiable reliance is not a necessary element of

   fraudulent misrepresentation”); Dziegielewski v. Scalero, 352 So. 3d 931, 934 (Fla. 5th DCA 2022)

   (holding that a buyer of a condominium could sue the seller’s real-estate agent for negligent

   misrepresentation where, “[d]uring the closing, Buyer was again advised that her purchase included

   the exclusive right to use all three garage spaces. However, the day after the closing, Association

   notified Buyer that she only had the exclusive right to use one garage space.”); Romo v. Amedex Ins. Co.,

   930 So. 2d 643, 653 (Fla. 3d DCA 2006) (citing Warren v. Dairyland Insurance Co., 662 So. 2d 1387 (Fla.

   4th DCA 1995), for the proposition that an “insurer can be held liable for the negligent

   misrepresentations made by insurance agent of insurer”); Fojtasek v. NCL (Bahamas) Ltd., 613 F. Supp.

   2d 1351, 1355 (S.D. Fla. 2009) (Ungaro, J.) (“Plaintiff’s claims [are] based in part on Defendant’s own

   negligence in selecting the shore excursion operator (Tabyana Tours) [and] in failing to warn Plaintiff

   of the dangers involved in the shore excursion[.]”); Thompson v. Procter & Gamble Co., 2018 WL

   5113052, at *3 (S.D. Fla. Oct. 19, 2018) (Gayles, J.) (“In a products liability case where only economic

   damages are alleged, the economic loss rule bars a claim for negligent misrepresentation.”). In fact,

   BKC hasn’t found a single case—nor have we—holding that an “ordinary buyer-seller relationship is

   not sufficient” to state a valid claim for negligent misrepresentation under Florida law. MTD at 25.

           Based on this body of Florida case law, we reiterate our view that the Plaintiffs can assert a

   negligent-misrepresentation claim under Florida law because they’ve alleged that BKC “had a

   pecuniary interest in its transactions with the Plaintiffs[.]” Coleman, 2023 WL 5507730, at *10; cf. FLA

   Orthopedics, Inc. v. Am. Ins. Co., 896 So. 2d 1, 4 (Fla. 3d DCA 2004) (“[W]e conclude that FLA cannot

   establish its claim, as a matter of law, under the test set forth in the Restatement. . . . TAIC had no

   pecuniary interest in its insured’s transactions with FLA. Any information received by TAIC from or

   about WAG was utilized solely to allow TAIC to underwrite the risk.”).

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           C. Unjust Enrichment (Count 14)

           Finally, BKC argues that the Plaintiffs cannot assert an unjust-enrichment claim. See MTD at

   27 (“Accordingly, if the Court finds that Plaintiffs’ deception claims as currently pleaded are not those

   of reasonable consumers, it also must find that BKC provided adequate consideration for the money

   they paid and dismiss their unjust enrichment claim.”). To state an unjust-enrichment claim under

   Florida law, the Plaintiffs must show that they “conferred a benefit on [BKC], that [BKC] appreciated

   the benefit, and that [BKC’s] acceptance and retention of the benefit under the circumstances made

   it ‘inequitable for [BKC] to retain it without paying the value thereof.’” Taxinet Corp. v. Leon, 114 F.4th

   1212, 1219 (11th Cir. 2024) (quoting Pincus v. Am. Traffic Sols., Inc., 333 So. 3d 1095, 1097 (Fla. 2022)).

   BKC says that the Plaintiffs received the benefit of their bargain—viz., that “BKC provided adequate

   consideration for the money they paid”—so their unjust-enrichment claim fails as a matter of law.

   MTD at 27; see also, e.g., Prohias v. Pfizer, Inc., 490 F. Supp. 2d 1228, 1236 (S.D. Fla. 2007) (Jordan, J.)

   (“Both men purchased a cholesterol reducing drug, and both men obtained cholesterol reduction as a

   result. Therefore, in a general sense, they obtained the benefit of their bargain. Unjust enrichment

   ‘cannot exist where payment has been made for the benefit conferred.’” (quoting N.G.L. Travel Assocs.

   v. Celebrity Cruises, Inc., 764 So. 2d 672, 675 (Fla. 2000))). Trying to parry, the Plaintiffs say only that

   BKC “does not provide any new evidence to suggest that the Court should deviate from its prior

   ruling.” Response at 20. 12




   12
     This is a rather unpersuasive response since we didn’t grapple with the merits of this unjust-
   enrichment claim in our prior order. We instead held that the Plaintiffs were entitled to plead unjust
   enrichment—in addition to their breach-of-contract claim—as an alternative basis for relief. See
   Coleman, 2023 WL 5507730, at *11 (“There is, in sum, nothing wrong with a plaintiff who asserts a
   contract claim in count 1 and, in the alternative that no such contract is found to have existed, an
   unjust-enrichment claim in count 2.”). But we never held that the Plaintiffs had stated a viable unjust-
   enrichment claim under Florida law, see ibid., because BKC didn’t advance this argument in its original
   motion to dismiss, see First Motion to Dismiss at 19–20.
                                                       24
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           This is another close call, but we think the Plaintiffs have barely stated a claim here. Although

   the Plaintiffs concede that they received some consideration for what they paid BKC, see SAC ¶ 32

   (“Mr. Coleman purchased a Whopper and a Big King at a Burger King store located in the state of

   Florida.”), there’s still an open question as to whether this consideration was “adequate” in light of

   BKC’s allegedly misleading advertisements, see ibid. (“Mr. Coleman expected the burgers that he

   purchased to be similar in size to the pictures of the burgers in Burger King’s advertisements and on

   Burger King’s store menu ordering board. However, the size of the burgers that Mr. Coleman received

   were much smaller than advertised and he was financially damaged as a result.”). On the one hand,

   the “mere fact that an overpayment of some sort has been demanded” isn’t enough to establish unjust

   enrichment; 13 on the other, consideration that has been received “due to fraud, misrepresentation,

   imposition, duress, undue influence, [or] mistake” is actionable. Hall v. Humana Hosp. Daytona Beach,

   686 So. 2d 653, 656 (Fla. 5th DCA 1996); see also, e.g., Rana Fin., LLC v. City Nat’l Bank of N.J., 347 F.

   Supp. 3d 1147, 1154 (S.D. Fla. 2018) (Cohn, J.) (“And if Plaintiff can demonstrate that Defendants

   procured the Subscription Agreement through fraud, it could potentially demonstrate that it would be

   inequitable for Defendants to retain the benefit.”). The Plaintiffs allege that they only purchased

   BKC’s products because of BKC’s “wrongful acts and omissions” (i.e., its “deceptive”

   advertisements), SAC ¶¶ 242–43, so they’ve alleged that they didn’t receive adequate consideration.

   Plus, “[w]hether the consideration received was in fact adequate is not an appropriate question for [us]




   13
     See also In re Univ. of Miami COVID-19 Tuition & Fee Refund Litig., 649 F. Supp. 3d 1245, 1255 (S.D.
   Fla. 2022) (Singhal, J.) (“Given the totality of the circumstances, Plaintiffs have not established that
   payment of full tuition for the Spring 2020 semester violates good conscience and fundamental
   principles of justice or equity. Plaintiffs were, first and foremost, students pursuing a degree which
   required them to earn a certain number of credit hours. They paid tuition for the privilege of taking
   classes at UM. By attending classes online after March 25, 2020, Plaintiffs were able to complete their
   courses and earn the necessary credits toward graduation. UM provided Plaintiffs what they paid for:
   the right to earn college credits at the University.”), aff’d sub nom. Dixon v. Univ. of Miami, 75 F.4th 1204
   (11th Cir. 2023).
                                                        25
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   to resolve at [the motion-to-dismiss] stage.” Williams v. Wells Fargo Bank N.A., 2011 WL 4368980, at

   *11 (S.D. Fla. Sept. 19, 2011) (Altonaga, J.). We’ll thus allow the unjust-enrichment claim to proceed.

                                               CONCLUSION

          Accordingly, after careful review, we hereby ORDER and ADJUDGE as follows:

          1. BKC’s Motion to Dismiss [ECF No. 70] is DENIED.

          2. In a separate order, we’ll set a status conference to discuss a new schedule.

          3. The Clerk is DIRECTED to REOPEN this case and LIFT the stay.

          DONE AND ORDERED in the Southern District of Florida on May 5, 2025.




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                                                          _________________________________
                                                          ROY K. ALTMAN
                                                          UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




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